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Attorneys for defendant, HOME DEPOT U.S.A., INC
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

RICHARD W. HANKEY, individually | Case No. 8:19-cv-00096-DOC-JDE

and on behalf of all others similarly Hon. David O. Carter
situated,
. UPDATE TO JOINT REPORT
Plaintiffs, PURSUANT TO FED. R. CIV. P.
26(F)
v.

Date: March 4, 2019
THE HOME DEPOT USA, INC., a Time: 8:30 a.m.
Delaware Corporation, and DOES 1 Courtroom: 9D

through 50, inclusive,
Action Filed: October 19, 2018
Defendants. Action Removed: January 17, 2019

 

 

 

 

 

UPDATE TO JOINT REPORT PURSUANT TO FED. R. CIV. P. 26(F)

 
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Plaintiff RICHARD W. HANKEY (“Plaintiff’ of “Hankey”) and defendant
HOME DEPOT U.S.A., INC. (“Home Depot”), through their respective counsel,
provide the following update to Section I(F) of the Rule 26(f) Joint Report, filed
February 11, 2019, 2019 (DE 10):

F,. Statement Regarding What Issues May Be Determined By Motion

and a Listing of Contemplated Law and Motion Matters

In addition to the contemplated motions discussed in the parties’ Joint Rule
26(f) Report, the parties add the following:

Defendant’s Positon:

Defendant will file a motion to transfer this action to the United States
District Court for the Eastern District of California to avoid otherwise duplicative
litigation and the risk of inconsistent decisions, and because the Eastern District is
the more appropriate venue for the convenience of the parties and witnesses. As
discussed in the joint report filed February 11, 2019, this action involves the same
overtime claim, i.e., that sales based bonuses were not included in the calculation of
the regular rate for overtime purposes, as an earlier filed action, Bell v. Home Depot
U.S.A., Ine., Case No. 2:12-cv-02499-GEB-CKD, pending in the Eastern District.
Throughout his employment with Home Depot, plaintiff worked at a store located
in the Eastern District, such that litigating the case there is convenient for parties
and witnesses and is where the operative events underlying his claims occurred.

On February 21, 2019, Home Depot filed a notice of pendency of other
actions or proceedings in this Court. DE 11. On February 25, 2019, Home Depot
also filed a notice of related cases in Bell. See DE 13, 13-1. On February 28, 2019,
the Bell Court informed counsel for Home Depot that it believed the cases were
related and that Home Depot should file a motion in the Hankey action to transfer
venue to the Eastern District.

Home Depot conferred with plaintiff's counsel regarding the motion to

transfer venue on February 28, 2019. Plaintiff is considering its position with

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UPDATE TO JOINT REPORT PURSUANT TO FED. R. CIV. P. 26(F)

 
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regard to Home Depot’s motion. If plaintiff is unwilling to stipulate to transfer this
action to the Eastern District, Home Depot will file its motion to transfer venue
within one week.

Plaintiff's Position:

On February 28, 2019, Defendant contacted Plaintiff’s counsel at 11:30 a.m.
this morning in regards to Defendant’s intention to file a motion to transfer venue.
Shortly thereafter, at 2:45 p.m. this afternoon, Defendant presented Plaintiff's
counsel with this report, even though Plaintiff has not had an opportunity to
consider Defendant’s position and whether Plaintiff will stipulate to or oppose the
transfer of venue. Despite these present circumstances, Plaintiff in good faith is
participating in this meet and confer statement and apprises the Court that he does
not have a determinative position on Defendant’s request to transfer venue at this

time.

Dated: February 28, 2019 JAMES R. HAWKINS, APLC

By /s/ James R. Hawkins
JAMES R. HAWKINS

GREGORY MAURO

MICHAEL CALVO

 

Attorneys for plaintiff Richard W. Hankey

Dated: February 28, 2019 AKIN GUMP STRAUSS HAUER & FELD LLP

By /s/ Donna M. Mezias
Donna M. Mezias

Attorneys for defendant
Home Depot U.S.A., Inc.

 

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UPDATE TO JOINT REPORT PURSUANT TO FED. R. CIV. P, 26(F)

 
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CERTIFICATE OF SERVICE

I hereby certify that on February 28, 2019 I electronically filed the foregoing
with the Clerk of the Court for the U.S. District Court, for the Central District of
California using the CM/ECF system. All participants are registered CM/ECF
users, and will be served by the CM/ECF system.

Dated: February 28, 2019 /s/ Donna M. Mezias
Donna M. Mezias

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UPDATE TO JOINT REPORT PURSUANT TO FED. R. CIV. P. 26(F)

 
